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                          UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                           CASE NO.:   6:19-BK-00458-CCJ



        IN RE:

        SHANNON W. GUICE,

                DEBTOR.

        ______________________________/



                             341 MEETING OF CREDITORS



        BEFORE:                 STUART FERDERER, U.S. TRUSTEE

        DATE:                   FEBRUARY 21, 2019

        TIME:                   10:00 A.M.

        LOCATION:               UNITED STATES BANKRUPTCY COURT
                                400 WEST WASHINGTON STREET
                                ORLANDO, FL 32801

        APPEARANCES:

        CYNTHIA E. LEWIS, ESQUIRE, ON BEHALF OF DEBTOR

        MARK BERNET, RECEIVER FOR LOYAL FINANCIAL SERVICES,
        LIFE MANAGEMENT SERVICES OF ORANGE COUNTY, AND OTHERS




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   1                                 I N D E X

   2           DIRECT EXAMINATION BY MR. FERDERER                      6

   3           CROSS-EXAMINATION BY MR. BERNET                        10

   4           REDIRECT EXAMINATION BY MR. FERDERER                   17

   5    CERTIFICATE OF REPORTER                                       19

   6                             E X H I B I T S

   7    NONE

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   1                         P R O C E E D I N G S

   2                 MR. FERDERER:      THIS IS CASE 34 THIS MORNING.

   3          THIS IS 19-458, SHANNON GUICE.            APPEARANCES OF

   4          COUNSEL.

   5                 MS. LEWIS:     CYNTHIA LEWIS FOR MS. GUICE.

   6                 MR. FERDERER:      THANK YOU, MS. LEWIS.         AND

   7          MS. GUICE IS HERE THIS MORNING, I ASSUME.               AND,

   8          SIR, WHAT IS YOUR NAME?

   9                 MR. BERNET:      MY NAME IS MARK BERNET.         IT'S

  10          B-E-R-N-E-T.      I AM THE COURT-APPOINTED RECEIVER

  11          FOR LOYAL -- EXCUSE ME -- YEAH, LOYAL FINANCIAL

  12          SERVICES, LIFE MANAGEMENT SERVICES OF ORANGE

  13          COUNTY, AND A HOST OF OTHER COMPANIES.

  14                 MR. FERDERER:      ALL RIGHT, SIR.

  15                 MS. LEWIS:     AND CAN I MAKE MY OBJECTION THAT

  16          WE HAVE TWO RECORDINGS GOING ON RIGHT NOW?

  17                 MR. FERDERER:      ABSOLUTELY.

  18                 MS. LEWIS:     AND THERE IS A COURT REPORTER

  19          HERE AND THEN THE OFFICIAL RECORDING; AND I HAVE

  20          AN OBJECTION TO THAT.         THAT'S IMPROPER.

  21                 MR. FERDERER:      AND I WILL NOTE YOUR

  22          OBJECTION; AND YOU'RE ACCURATE.            THE U.S. TRUSTEE

  23          TYPICALLY DOES NOT ALLOW A COURT REPORTER; BUT,

  24          MS. MOSER, YOU'RE HERE AND YOU'VE ALREADY

  25          STARTED.     FOR THE RECORD, THE OFFICIAL RECORD OF

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   1          THIS PROCEEDING IS GOING TO BE THE TAPE THAT

   2          WE'RE CURRENTLY CREATING RIGHT NOW AND ANY

   3          TRANSCRIPT THAT COMES FROM THAT.

   4                 DO YOU WANT THE COURT REPORTER TO NOT

   5          PARTICIPATE IN THIS?

   6                 MS. LEWIS:     I WOULD PREFER THE COURT

   7          REPORTER DOES NOT PARTICIPATE IN THIS.

   8                 MS. MOSER:     I WILL STATE FOR THE RECORD THAT

   9          I ALSO TRANSCRIBE THOSE RECORDINGS FOR THE 341

  10          MEETINGS OUT OF THE U.S. TRUSTEE'S OFFICE.               AND

  11          SO, EITHER WAY, I AM HAPPY, SHOULD YOU NEED A

  12          TRANSCRIPT, MR. BERNET, JUST CONTACT ME AND I'LL

  13          GO THROUGH THE APPROPRIATE CHANNELS WITH THE U.S.

  14          TRUSTEE'S OFFICE.

  15                 MR. BERNET:      RIGHT.    AND THE REASON WE DID

  16          IT THIS WAY IS THAT THERE ARE OCCASIONS WHERE THE

  17          TAPE JUST DOESN'T -- ISN'T CLEAR AND THERE'S

  18          SOMETIMES A LITTLE BIT OF PROBLEMS WITH THEM.                  I

  19          HAVEN'T HAD THAT IN A NUMBER OF YEARS, BUT I HAVE

  20          HAD THAT PROBLEM HISTORICALLY; AND THAT'S WHY WE

  21          SOMETIMES LIKE TO HAVE AN ACTUAL LIVE PERSON HERE

  22          WHO CAN SAY, "WAIT A MINUTE.           I DIDN'T HEAR THAT.

  23          COULD YOU REPEAT YOURSELF?"           THINGS LIKE THAT.

  24          SO THAT'S WHY -- WHY I'VE ASKED HER TO BE HERE.

  25                 I FULLY UNDERSTAND THAT WE'LL HAVE TO

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   1          TRANSCRIBE THE TAPE IF WE WANT AN OFFICIAL RECORD

   2          OF THIS 341 MEETING.

   3                 MR. FERDERER:      WELL, I'M NOT COMPLETELY

   4          COMFORTABLE WITH HAVING THE COURT REPORTER HERE,

   5          PRIMARILY BECAUSE IT'S THE UNITED STATES

   6          TRUSTEE'S POSITION THAT WE ONLY HAVE ONE.

   7                 MR. BERNET:      THAT'S FINE.

   8                 MR. FERDERER:      SO, MS. MOSER, I APOLOGIZE TO

   9          YOU.    I KNOW YOU CAME ALL THE WAY DOWN HERE; BUT

  10          I THINK WE'RE GOING TO JUST GO WITH THE TAPE

  11          RECORDING THIS MORNING.

  12                 MS. MOSER:     ABSOLUTELY.      I UNDERSTAND.

  13                 MR. FERDERER:      AND, AGAIN, I APOLOGIZE.

  14                 MS. MOSER:     NO APOLOGY NECESSARY.

  15                 MR. FERDERER:      BUT YOU WILL BE COMPENSATED

  16          FOR YOUR TIME, I'M SURE.

  17                 MS. MOSER:     YES, I WILL.

  18                 MR. BERNET:      YES.

  19                 MR. FERDERER:      ALL RIGHT, MA'AM.        LET'S GO

  20          AHEAD AND BEGIN THE 341 MEETING.            MS. GUICE, I

  21          NEED TO TAKE A LOOK AT THAT DOCUMENT, PLEASE.

  22          AND DO YOU HAVE YOUR SOCIAL SECURITY CARD WITH

  23          YOU?

  24                 THE WITNESS:      I HAVE AN OLD W-2.        SORRY.

  25          IT'S DOWNLOADING.

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   1                 MS. LEWIS:     CAN YOU MAKE IT A LITTLE BIGGER

   2          SO HE CAN SEE?

   3                 MR. FERDERER:       DO YOU HAVE A COPY IN YOUR

   4          FILE, BY ANY CHANCE?

   5                 MS. LEWIS:     I DON'T.      I DON'T HAVE A COPY.

   6                 MR. FERDERER:       OKAY.   I THINK THAT'S

   7          CORRECT.      THANK YOU.     MS. GUICE, WOULD YOU RAISE

   8          YOUR RIGHT HAND, PLEASE?           DO YOU SWEAR OR AFFIRM

   9          TO TELL THE TRUTH AND NOTHING BUT THE TRUTH?

  10                 THE WITNESS:      I DO.

  11                            SHANNON W. GUICE,

  12    HAVING BEEN DULY SWORN, WAS EXAMINED AND TESTIFIED AS

  13    FOLLOWS:

  14                           DIRECT EXAMINATION

  15    BY MR. FERDERER:

  16          Q      THANK YOU.     WHEN YOU FILED THIS CASE, YOU

  17    FILLED OUT SOME PAPERWORK FOR MS. LEWIS.              SHE ALSO HAD

  18    YOU SIGN SOME DOCUMENTS.          WHEN YOU DID ALL THAT, DID

  19    YOU UNDERSTAND YOU WERE DOING IT UNDER PENALTY OF

  20    PERJURY?

  21          A      YES.

  22          Q      ARE THERE ANY CHANGES OR ADDITIONS YOU THINK

  23    YOU NEED TO MAKE?

  24          A      I STILL NEED TO DO THE TAX FORMS.

  25          Q      THAT'S TRUE.      WE DON'T HAVE THOSE.         OTHER

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   1    THAN THAT, ARE THERE ANY OTHER CHANGES OR ADJUSTMENTS?

   2    DID YOU LIST EVERYTHING YOU OWN?

   3          A      YES.

   4          Q      DID YOU LIST EVERYBODY YOU OWE MONEY TO?

   5          A      I HOPE I DIDN'T LEAVE ANYBODY OUT.             YES.

   6          Q      OKAY.     DID YOU LIST ALL OF YOUR INCOME AND

   7    ALL OF YOUR EXPENSES?

   8          A      YES.

   9          Q      HAVE YOU FILED FOR BANKRUPTCY BEFORE?

  10          A      NO.

  11          Q      DO YOU HAVE A CHILD SUPPORT OR ALIMONY

  12    OBLIGATION?

  13          A      NO.

  14          Q      HAVE YOU LIVED IN FLORIDA FOR THE PAST FIVE

  15    YEARS?

  16          A      YES.

  17          Q      YOUR FIRST PAYMENT IS DUE TOMORROW.             HAVE

  18    YOU HAD AN OPPORTUNITY TO SEND THAT OFF, YET?

  19          A      YES.

  20          Q      OKAY.

  21          A      ONLINE.

  22          Q      OKAY.     AND REFRESH MY MEMORY ON THE TAX

  23    RETURNS.     DID YOU PROVIDE THEM TO MS. LEWIS?

  24                 MS. LEWIS:     NO.     I FILED A MOTION --

  25                 MR. FERDERER:        EXTENSION?

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   1                  MS. LEWIS:    -- FOR EXTENSION OF TIME

   2          YESTERDAY -- JUST YESTERDAY; AND WE UPLOADED THE

   3          ORDER YESTERDAY.        SO IT MAY BE ENTERED TODAY;

   4          BUT, UNFORTUNATELY, I TOOK A LITTLE LONG TO DO

   5          THAT.

   6    BY MR. FERDERER:

   7          Q       MS. GUICE, WHAT'S THE STATUS OF THE FTC CASE

   8    RIGHT NOW IN DISTRICT COURT?            DO YOU KNOW WHAT'S

   9    HAPPENING WITH THAT?

  10          A       LAST I HEARD THAT THERE WAS A JUDGMENT THAT

  11    THERE'S MOTIONS AND OBJECTIONS AND APPEAL OR, I DON'T

  12    KNOW, SOME TYPE OF TERM LIKE THAT.

  13          Q       OKAY.   SO IT'S -- THERE'S NOTHING REALLY

  14    RESOLVED AT THIS POINT?

  15                  MS. LEWIS:    THERE'S NOTHING -- THE LAWSUIT

  16          IS -- MS. GUICE IS NOT A DEFENDANT IN THE

  17          LAWSUIT; AND AT THIS POINT, THERE IS NOTHING

  18          AGAINST HER.      SO, TECHNICALLY, I WOULD OBJECT

  19          THAT MR. BERNET IS NOT A CREDITOR IN HER CASE.

  20          AND AT A HEARING THAT WE HAD LAST WEEK, I THINK

  21          IT WAS, OR THE WEEK BEFORE, THE JUDGE AGREED THAT

  22          THEY ARE NOT, AT THIS POINT, A CREDITOR.               THERE'S

  23          NOTHING IN THE DISTRICT COURT CASE THAT SAYS THEY

  24          ARE A CREDITOR.

  25                  MR. FERDERER:     OKAY.     WELL, I THINK I'VE

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   1          COVERED EVERYTHING I NEED TO.            MR. BERNET,

   2          NORMALLY I WOULD HAND THIS OVER TO CREDITORS TO

   3          ASK QUESTIONS; BUT I SUSPECT THAT THAT'S PROBABLY

   4          NOT GOING TO HAPPEN.

   5                 MR. BERNET:      WELL, I AM A CREDITOR, JUST SO

   6          THAT WE'RE CLEAR.        I'VE FILED A PROOF OF CLAIM

   7          AND THERE'S NO OBJECTION TO IT THAT'S BEEN FILED.

   8          WE DO HAVE A REPORT AND RECOMMENDATION THAT

   9          SUGGESTS THAT MS. GUICE IS LIABLE TO ME FOR $8.6

  10          MILLION.     THE STAY HAS BEEN LIFTED SO THAT THE

  11          PROCEDURAL HOOPS CAN BE JUMPED THROUGH TO

  12          FINALIZE THAT; BUT AS MATTERS STAND RIGHT NOW, I

  13          DO -- I AM A CREDITOR.         I DO HAVE AN 8.6

  14          MILLION-DOLLAR CLAIM.         THE JUDGE HAS NOT RULED

  15          THAT I AM NOT A CREDITOR.          THERE WAS NO SUCH

  16          RULING.

  17                 MR. FERDERER:      WELL, WHAT -- HERE'S HOW

  18          WE'LL HANDLE THIS.        AND I'M NOT SURE HOW MUCH

  19          TIME THIS WILL TAKE, BUT IF YOU WOULD LIKE TO ASK

  20          MS. GUICE ANY QUESTIONS, I'LL GIVE YOU THAT

  21          OPPORTUNITY.      AND, MS. LEWIS, IF YOU WANT TO

  22          OBJECT, WE'LL SIMPLY EXPEND WHATEVER AMOUNT OF

  23          TIME WE NEED TO TO RESOLVE THOSE ISSUES.               SO,

  24          MR. BERNET, DID YOU WANT TO ASK MS. GUICE ANY

  25          QUESTIONS?

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    1                  MR. BERNET:     I DO.   AND JUST SO THAT WE'RE

    2          CLEAR ON THE RECORD HERE, JUST BEFORE THIS BEGAN,

    3          MS. LEWIS ACTUALLY THREATENED ME OUT IN THE HALL

    4          WITH -- AND SAID THERE WAS NO BASIS FOR ME TO

    5          EVEN BE HERE, SO -- AND THAT SHE'D BE WATCHING ME

    6          AS I WAS ASKING QUESTIONS, SO --

    7                  MS. LEWIS:    I WOULD OBJECT THAT I THREATENED

    8          YOU, SIR.

    9                  MR. BERNET:     -- SO I DO HAVE QUESTIONS.         SHE

   10          DID AGREE THAT I COULD ASK QUESTIONS LIMITED TO

   11          WHAT IS ON THE SCHEDULES OR NOT ON THE SCHEDULES,

   12          SO THAT IS MY INTENTION.

   13                  MR. FERDERER:     LET'S GO AHEAD AND PROCEED

   14          AND TRY TO BE AS CIVIL AS WE CAN.           HOW ABOUT

   15          THAT?

   16                  MR. BERNET:     I AGREE WITH THAT.

   17                  MR. FERDERER:     SO GO AHEAD, SIR.       YOU GO

   18          AHEAD.

   19                             CROSS-EXAMINATION

   20   BY MR. BERNET:

   21          Q       MRS. GUICE, YOU PRESENTLY ARE EMPLOYED?

   22          A       CORRECT.

   23          Q       WHAT'S THE NAME OF YOUR EMPLOYER?

   24                  MR. FERDERER:     IF YOU WANT TO GIVE YOUR

   25          COUNSEL AN OPPORTUNITY TO INTERJECT, YOU SHOULD

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    1          PROBABLY GIVE HER A FEW SECONDS TO DO SO.

    2                THE WITNESS:      OKAY.

    3                MS. LEWIS:     WELL, WE TALKED ABOUT THIS

    4          PARTICULAR QUESTION, SO --

    5                MR. FERDERER:      OKAY.

    6                MS. LEWIS:     IT'S ON THE SCHEDULES.

    7                MR. FERDERER:      GO AHEAD, MR. BERNET.         I'M

    8          SORRY.

    9   BY MR. BERNET:

   10          Q     WHAT'S THE NAME OF YOUR EMPLOYER?

   11          A     PINNACLE FUNDING.

   12          Q     PINNACLE BUSINESS FUNDINGS?

   13          A     YES.

   14          Q     LLC?

   15          A     CORRECT.

   16          Q     AND FUNDINGS HAS AN S ON THE END OF IT.

   17          A     YES.

   18          Q     WHAT DOES THAT COMPANY DO?

   19          A     I'M ADMINISTRATIVE ASSISTANT.

   20          Q     WHAT DOES THE COMPANY DO?          MRS. GUICE, WHAT

   21   DOES THE COMPANY DO?

   22          A     I'M NOT ENTITLED TO SAY THAT.           IT'S -- IT'S

   23   NOT MY COMPANY.       I JUST DO ERRANDS AND FILE PAPERS AND

   24   DO BOOKKEEPING.       I DON'T...

   25          Q     YOU DON'T KNOW WHAT IT DOES?

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    1           A     I -- CORRECT.     I DON'T KNOW.

    2           Q     YOU DON'T KNOW WHAT IT DOES.         OKAY.    BUT

    3   YOU'RE PAID, WHAT?        $78,000 A YEAR --

    4           A     CORRECT.

    5           Q     -- BY THE COMPANY?       HAS IT GIVEN YOU A W-2

    6   FOR THIS YEAR?

    7           A     NO.

    8           Q     DID IT GIVE YOU A W-2 FOR LAST YEAR?

    9           A     NO.

   10           Q     DID IT GIVE YOU A 1099 FOR THIS YEAR --

   11   EXCUSE ME -- FOR 2018 OR 2017?

   12           A     YES.

   13           Q     SO YOU GOT A 1099 FROM THE COMPANY?

   14           A     YES.

   15           Q     FOR 2017 AND 2018 BOTH?

   16           A     CORRECT.

   17           Q     HAVE YOU FILED YOUR 2017 TAX RETURN?

   18           A     NO.

   19           Q     HAVE YOU FILED A 2015 OR 2016 RETURN?

   20           A     NO.

   21           Q     HAVE YOU FILED AMENDED RETURNS FOR 2013 OR

   22   2014?

   23           A     NO.

   24           Q     IN YOUR 2013 AND 2014 TAX RETURNS, YOU'RE

   25   LISTED AS A CO-OWNER OF A COMPANY CALLED LOYAL

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    1   FINANCIAL SERVICES, YET YOU DIDN'T PUT THAT ON YOUR

    2   SCHEDULE.        WAS THAT JUST AN OVERSIGHT?

    3           A       I JUST SIGNED THE PAPER.

    4           Q       WHAT DOES THAT MEAN?      WHICH PAPER DID YOU

    5   SIGN?

    6           A       THE TAX FORM.

    7           Q       YOU DIDN'T READ IT?

    8           A       MY TAX ACCOUNTANT SAID, "YOU NEED TO SIGN

    9   IT."        I SIGNED IT AND THAT WAS IT.

   10           Q       OKAY.   SO YOU DIDN'T READ IT?       IS THAT --

   11           A       CORRECT.     I DID NOT READ IT.

   12           Q       OKAY.   HAVE YOU BEEN AUDITED BY THE IRS?

   13                   MS. LEWIS:     I'M GOING TO OBJECT TO THAT.

   14           THAT DOESN'T HAVE ANYTHING TO DO WITH HER

   15           BANKRUPTCY FILE.

   16                   MR. BERNET:     WELL, I THINK IT DOES TO THE

   17           EXTENT THAT WE'RE GOING TO BE LOOKING AT THESE

   18           TAX RETURNS.       SO ARE YOU INSTRUCTING HER NOT TO

   19           ANSWER?     IS THAT WHAT YOU'RE DOING?

   20                   MS. LEWIS:     I'M GOING TO -- I'M GOING TO SAY

   21           IT DOES NOT PERTAIN TO HER BANKRUPTCY FILING,

   22           SO --

   23                   MR. BERNET:     OKAY --

   24                   MS. LEWIS:     -- SHE DOESN'T NEED TO ANSWER

   25           THAT.

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    1                MR. BERNET:      OKAY.    SO YOU'RE GOING TO TELL

    2          HER SHE -- ARE YOU GOING TO INSTRUCT HER NOT TO

    3          ANSWER, IS REALLY ALL I'M ASKING.           BECAUSE I'D

    4          LIKE AN ANSWER TO THE QUESTION UNLESS YOU'RE

    5          TELLING HER NOT TO.

    6                MS. LEWIS:     WE'RE NOT -- WE'RE NOT GOING TO

    7          ANSWER THAT.      IT DOESN'T HAVE ANYTHING TO DO WITH

    8          HER BANKRUPTCY FILING; AND I WOULD LIKE THIS -- A

    9          341 MEETING IS DESIGNED FOR YOU TO ASK QUESTIONS

   10          ABOUT HER BANKRUPTCY FILING AND THINGS PERTAINING

   11          TO IT ONLY.

   12   BY MR. BERNET:

   13          Q     HAVE YOU RECEIVED ANY MONEY FROM LOYAL

   14   FINANCIAL SERVICES OR LIFE MANAGEMENT SERVICES OF

   15   ORANGE COUNTY?

   16          A     NO.

   17          Q     DO YOU NEED ANYTHING FROM ME IN ORDER TO

   18   FILE YOUR TAX RETURNS FOR THESE YEARS, 2015, '16, AND

   19   '17?

   20          A     YES.

   21          Q     WHAT DO YOU NEED FROM ME?

   22          A     WHATEVER TAX INFORMATION THAT YOU ARE

   23   SUPPOSED TO BE PROVIDING.

   24          Q     OKAY.

   25          A     I DON'T KNOW.      I'M NOT A TAX ACCOUNTANT.

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    1          Q     SO TO THE EXTENT THAT YOU OWN SOME INTEREST

    2   IN THESE COMPANIES, YOU WILL NEED THAT INFORMATION

    3   FROM ME?

    4          A     I DON'T HAVE INTEREST IN ANY OF THOSE

    5   COMPANIES.

    6          Q     SO THEN, YOU DON'T NEED ANYTHING --

    7          A     I PERSONALLY DO NOT NEED ANY OF THAT

    8   INFORMATION.       YOU ARE CORRECT.

    9          Q     OKAY.     OKAY.   WITH RESPECT TO YOUR JEWELRY,

   10   HAVE YOU LOST ANY JEWELRY SINCE OCTOBER OF 2018?

   11          A     NO.

   12          Q     OKAY.     DID YOU EVER FIND THE APPRAISALS FOR

   13   THAT JEWELRY?        IT WAS IN A BLUE, YOU TESTIFIED.

   14          A     NO, I DID NOT FIND THAT BLUE FOLDER.             I

   15   WOULD HAVE TO GET THEM RE-APPRAISED.

   16          Q     OKAY.     SO YOU DON'T HAVE A CURRENT APPRAISAL

   17   FOR THAT JEWELRY?

   18          A     I DO NOT.

   19          Q     SO -- JUST SO I'M CLEAR, ALL OF THE JEWELRY

   20   YOU HAD AS OF OCTOBER 10TH OF 2018, YOU STILL HAVE,

   21   CORRECT?

   22          A     CORRECT.

   23          Q     OKAY.     HAVE YOU RECEIVED ANY MONEY FROM YOUR

   24   PARENTS OVER THE LAST YEAR?

   25          A     FROM MY PARENTS?

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    1          Q       YES.

    2          A       YES.

    3          Q       HOW MUCH?

    4          A       I DON'T KNOW.     IT'S FOR ATTORNEY FEES.

    5                  MS. LEWIS:     AND THAT DOESN'T HAVE ANY

    6          BEARING ON HER BANKRUPTCY --

    7                  MR. BERNET:     THE ATTORNEY -- WELL, TO THE

    8          EXTENT SHE'S GETTING MONEY.          IF SHE'S GOT IT

    9          EARMARKED FOR SOMETHING, I'LL JUST LEAVE THAT BE.

   10                  THAT'S REALLY ALL THE MORE I WANT TO DO

   11          TODAY.     I DID TELL YOUR COUNSEL WE'RE GOING TO

   12          SET SOME DEPOSITIONS, SO WE'LL DO MORE WHEN WE DO

   13          THAT.

   14                  THE WITNESS:     OKAY.

   15                  MR. FERDERER:     ALL RIGHT, MR. BERNET.        THANK

   16          YOU, SIR.      MS. GUICE -- AND MAYBE MR. BERNET CAN

   17          HELP WITH THIS, AS WELL -- WHAT'S THE STATUS OF

   18          THE INFINITY AUTOMOBILE?         WHAT --

   19                  THE WITNESS:     HE HAS POSSESSION OF THE

   20          INFINITY.

   21                  MR. FERDERER:     HE HAS IT.

   22                  MR. BERNET:     I HAVE IT.     I'M WAITING FOR

   23          SOMEBODY TO ASK ME TO -- WHERE THEY WANT TO BRING

   24          IT BACK, IF THEY WANT IT, STILL.           I DON'T KNOW.

   25                  MR. FERDERER:     WHAT IS YOUR INTENTION

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    1          REGARDING THAT VEHICLE?          DID YOU WANT TO --

    2                THE WITNESS:      JUST SELL IT SO IT'S OFF MY

    3          CREDIT.

    4                MR. FERDERER:      IS THERE A LIEN ON IT?

    5                THE WITNESS:      I'M SURE, BY NOW.

    6                MR. FERDERER:      DID YOU -- DO YOU KNOW WHAT

    7          YOUR INTENTION IN THE PLAN?

    8                MS. LEWIS:     WELL -- IN THE PLAN?         I HAD IT

    9          IN THE PLAN.

   10                MR. FERDERER:      OKAY.

   11                MS. LEWIS:     DEPENDING ON WHETHER HE WAS

   12          GOING TO RELEASE IT OR NOT.          AND THAT IS PART OF

   13          THE DISGORGEMENT ACTION THAT IS PENDING IN

   14          DISTRICT COURT.      SO I DON'T KNOW WHERE WE ARE.

   15          AND, UNFORTUNATELY, MR. BERNET AND I HAVE NOT HAD

   16          THE OPPORTUNITY TO SPEAK PRODUCTIVELY ABOUT THAT.

   17                MR. FERDERER:      OKAY.

   18                          REDIRECT EXAMINATION

   19   BY MR. FERDERER:

   20          Q     MS. GUICE, YOU'VE GOT A STORAGE UNIT, IT

   21   SOUNDS LIKE.        IS EVERYTHING IN THAT STORAGE UNIT

   22   DISCLOSED IN YOUR PAPERWORK?

   23          A     YES.     IT'S ALL CHRISTMAS DECORATIONS.

   24                MR. FERDERER:      ALL RIGHT.      I THINK I'VE

   25          COVERED EVERYTHING THAT I NEED TO COVER, SO I

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    1          WILL CONCLUDE THE MEETING.          IF YOU HAVE ANY

    2          PROBLEMS OR QUESTIONS ABOUT THE CASE, GET AHOLD

    3          OF MS. LEWIS.      OKAY?

    4                THE WITNESS:      THANK YOU.

    5                MR. FERDERER:        THANK YOU, MR. BERNET.

    6                MR. BERNET:      THANK YOU.

    7                (WHEREUPON, THE PROCEEDINGS WERE CONCLUDED.)

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    1                       CERTIFICATE OF REPORTER

    2   STATE OF FLORIDA

    3   COUNTY OF ORANGE

    4

    5          I, SANDRA A. MOSER, NOTARY PUBLIC, CERTIFY THAT I

    6   WAS AUTHORIZED TO AND MY OFFICE DID TRANSCRIBE, FROM

    7   CD-R, THE FOREGOING PROCEEDINGS AND THAT THE

    8   TRANSCRIPT IS A TRUE RECORD.

    9          I FURTHER CERTIFY THAT I AM NOT A RELATIVE,

   10   EMPLOYEE, ATTORNEY OF COUNSEL OF ANY OF THE PARTIES,

   11   NOR AM I FINANCIALLY INTERESTED IN THE ACTION.

   12          DATED THIS 6TH DAY OF APRIL 2019.

   13

   14

   15                _________________________________

   16                SANDRA A. MOSER, RPR, FPR
                     NOTARY PUBLIC - STATE OF FLORIDA
   17                MY COMMISSION NO. GG191464
                     MY COMMISSION EXPIRES: 5/5/2022
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                                 ALSO [2] 4/9 6/17             CAME [1] 5/9
   $                             AM [7] 3/10 4/11 9/5 9/13     CAN [7] 3/15 4/22 6/1 6/2
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